

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-59,576-02






EX PARTE RANDY JAMES RODRIGUEZ, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2000-435,018 IN THE 140th DISTRICT COURT


FROM LUBBOCK COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the clerk of
the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte Young, 418
S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual assault and
sentenced to ninety-nine years' imprisonment.  The Seventh Court of Appeals affirmed his conviction. 
Rodriguez v. State, No. 07-02-0041-CR (Tex. App.-Amarillo, delivered February 21, 2003, pet. ref'd). 

	Applicant contends that his trial counsel rendered ineffective assistance because he failed to
investigate Applicant's inhalant abuse, failed to present evidence of Applicant' inhalant abuse as a mitigating
factor in punishment, failed to object to the prosecutor's improper comparison of the instant offense to the
terrorist attacks of September 11, 2001, failed to object to inadmissible victim impact testimony being
introduced during guilt-innocence, and failed to object to the testimony of a probation officer that Applicant
did not deserve probation.  

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington, 466
U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court shall
provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of ineffective
assistance of counsel.  The trial court may use any means set out in Tex. Code Crim. Proc. art. 11.07,
§ 3(d).  In the appropriate case, the trial court may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an attorney to
represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial attorney
was deficient and, if so, whether counsel's deficient performance prejudiced Applicant.  The trial court shall
also make any other findings of fact and conclusions of law that it deems relevant and appropriate to the
disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The issues
shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the order granting
the continuance shall be sent to this Court. A supplemental transcript containing all affidavits and
interrogatories or the transcription of the court reporter's notes from any hearing or deposition, along with
the trial court's supplemental findings of fact and conclusions of law, shall be returned to this Court within
120 days of the date of this order.  Any extensions of time shall be obtained from this Court. 



Filed: February 13, 2008

Do not publish


